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                                                               Exhibit 1


                           (1)                    (2)                    (3)                   (4)                (5)
               Original Total               Original           Amount CDC/HHS Amount                       Amount
Appropriations Amount Congress                                 had obligated /        CDC/HHS had          CDC/HHS has
Bill                                        Amount that
               Appropriated to                                 awarded to STLTs “paid out” to              “paid out” to
                                            Congress
               CDC/HHS, and                                    as of March 24, 2025 STLTs as of            STLTs as of
               availability end-date        Appropriated       announcement that March 24, 2025            present
               to obligate funds            for CDC/HHS        it would terminate     announcement         (~5/22/25)
                                            to Award to        the grants at issue in that it would
                                            STLTs              this case              terminate the
                                                                                      grants at issue in
                                                                                      this case
                $2,200,000,000,
CPRSAA          available until Sep. 30,   $950,000,000           CDC funding:         CDC funding:         CDC funding:
(134 Stat. at   2022                                             $1,120,474,306        $1,098,488,564       $1,093,927,786
147)

                                                                    CDC funding:           CDC funding:       CDC funding:
                $4,300,000,000,            $1,500,000,000          $2,141,490,126         $1,829,465,757     $1,819,051,788
CARES           available until Sep. 30,
(134 Stat. at   2024                                                HHS funding:           HHS funding:       HHS funding:
554)                                                                $61,288,220             $7,524,563        $18,051,535
                                                                    ___________            ___________       ____________
                                                                $2,202,778,346            $1,836,990,320     $1,837,103,323

PPP             $25,000,000,000 to
                                           $10,250,000,000         CDC funding:           CDC funding:       CDC funding:
(134 Stat. at   HHS, available until                               $113,957,883           $102,573,318       $108,103,062
                                           through HHS
623-624)        expended
                                                                  HHS funding:            HHS funding:       HHS funding:
                                                                 $10,418,359,169         $8,793,928,005     $8,901,879,800
                                                                  ___________             ___________        __________
                                                                 $10,532,317,052         $8,896,501,323     $9,009,982,862

                $8,750,000,000 to CDC,
CRRSAA                                    $4,290,000,000            CDC funding:           CDC funding:       CDC funding:
                available until Sept. 30,
                                                                   $5,426,152,836         $3,750,905,709     $3,822,773,889
(134 Stat. at   2024
1911)
                                                                   HHS funding:           HHS funding:       HHS funding:
                $22,400,000,000 to         $21,610,000,000        $21,327,406,498        $13,849,900,834    $14,430,947,966
                HHS, available until       ($22.4. bb less          _________              __________       _____________
                Sept. 30, 2022             $790 mm to Indian      $26,753,559,334        $17,600,806,543    $18,253,721,855
                                           Health Service)


ARPA            $1,000,000,000 for
                                                  $0                CDC funding:           CDC funding:       CDC funding:
                vaccine-related uses;
                                                                   $3,593,022,832         $1,992,311,084     $2,315,154,019
(135 Stat. at   available until expended
38- 39)                                                            HHS funding:           HHS funding:        HHS funding:
                                                                  $15,371,593,689        $10,134,158,313     $10,123,839,108
                                                                  _____________           ___________         ___________
                                                                  $18,964,616,521        $12,126,469,397     $12,438,993,127
